Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 1 of 30

QUARTERLY OPERATING REPORT -
POST CONFIRMATION

ATTACHMENT NO, I

 

Cuse Namo: Marina Towers, LLC,

Case Number: 6:20-bk-J389-KSd

 

Date of Plan Confirmation: Februmes 21, 2021

 

 

 

 

 

 

 

QUESTIONNAIRE
YES" NO
Have ony assets been sold of transferred oulside the normal course of business, of outside
he Planol Rearyanization during this reporting period! _ __ xX
2 Ate any post-confirmation sales or puyrolt taxes past due? x
“Are Uy COLTS Od Las eyewear Errritiatt ctediture- vendors over 90 Gays delinquent? — LT a
|— - —___— =. i — a a Xx —$——
4 Is the Debioe current on al! pistecenfireniation plan payments! K

 

 

 

 

 

 

 

“Ul thy answer to any of the abuve questions iy VES. provide a detailed © tplunntion uf each Hen on a separate shirct

 

 

 

 

 

INSURANCE INFORMATION
VES NO*
Ate teal and personal property, eehiclelauts, general lability, fire, hell. workers
_. LAMpENsANYN, and other necessary imaututice Coverages ith t __ XxX
Are ull presmiuin payieents current? x

 

 

 

 

 

“If the answer to any of the above questions is °NO.' provide » Jetalled explanation of cach iivm ons separate shect.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CONFIRMATION OF INSURANCE
Payment Amount Delinquency
TYPE of POLICY and CARRIER Period of Coverage und Frequency Amount
Veoperty © Mi Hawley Insurance (omens D6/01/21 to 05/91/22 $.590 70 Monthly None
Liability « Westicld Liability Insurance GON 2 1 t0 Os/al/22 870 44) Monthly None
Lirrhrellh ~ Weathield Giatutits Hesaqan DEMT2T to OS/3 1:22 Included with Liahility None
| DESCRIBE PERTINENT DEYELOPMEN I's, EVENTS, AND MATTERS DURING THIS REPOR! ING FERIOD: —

Un Februsty 23, 2021, the Bankruptey Count cntered an Order Contianing Debtors’ Amended Joint Plan of Keorgowzanen On Apa} 2) 20210
Salus heacing way held setting July 2, 2021 as the deadline for clann objections. On March 1, 2021. in the case of Moz Pariners EP. iadivedunlly

| and on behall oC oll other similarly situated, vs. First Choice Healthcare Solutions, Inc. and Chrisiiun Rumandettt, St, Cuse No 9:19 cv-00619-
VGB-LRH pending in the US District Court, Middle District of Florida, Orlando Division, an Order Pecliminury Approving Class Acuon
Sctilement, Preluninory Cerutying Settlement Claas, and Directing Nouce lo Sctilemeni Class was entered Whe District Court set o heoriny
Tegarding final approval Of the yetttement for July 26, 2021 af 10:00 am atthe United Sintes Misteiel Court for he Middle District of Florida,
Orlando Division, 401 West Centsal Boulevard. Orlando, Flarida 1280)

Estimated Date of Filing the Apptication for Final Decree: Winter/Spring 2022

 

Taeclare under penalty of perjury that this statement and the accompanying
documents and reports are (rue and correct (a the best of my knowledge and
belief. ig /
dav of 222 — :

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fio
uw”
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 2 of 30

Marina Towers, LLC.
Case 6:20-bk-3359
For Period Ending December 31, 2021

Attachment No. 1

Questionnaire 3. All undisputed bills paid on a timely basis. We have been working with GMR, our
landlord on a lease modification and amendment, we have deferred part of the YTD 2021 rent payments
during the negotiations.
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 3 of 30

QUARTERLY OPERATING REPORT - ATTACHMENT NO. 2
POST CONFIRMATION

CHAPTER 11 POST-CONFIRMATION
SCHEDULE OF RECEIPTS AND DISBURSEMENTS

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

Date of Plan Confirmation: February 21, 2021

 

 

 

All items must be answered. Any which do not apply should be answered “none” or “N/A”.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10/01/21 - 12/31/21 02/22/21 - 12/31/21
Quarterly Post Confirmation Total
1. CASH (Beginning of Period) $ 22,812.08 |$ 601.07
2. INCOME or RECEIPTS during the Period |$ 177,609.88 |$ 926,622.72 |
3. DISBURSEMENTS
a. Operating Expenses (Fees/Taxes):
(i) U.S. Trustee Quarterly Fees $ None $ None
(ii) Federal Taxes None None
(iii State Taxes None None
(iv Other Taxes None None
b. All Other Operating Expenses: $ 200,093.67 |$ 603,919.09
c. Plan Payments:
(i) Administrative Claims $ - $ 322,442.37
(ii) Class One None None
(iii Class Two None None
(iv Class Three (287.05) 246.99
(v) Class Four None None
(vi Class Five None None
(vi Class Six None None
(vi Class Seven None None
Total Disbursements (Operating & Plan) $ 199,806.62 |$ 926,608.45

 

 

 

 

 

1. CASH (End of Period) I$ 615.34 |$ 615.34

 
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 4 of 30

QUARTERLY OPERATING REPORT - ATTACHMENT NO. 3
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

For 10/31/21

 
 

Bank Account Information

Account Account Account Account
#1 #2 #3 #4

ame of Bank: TD Bank
Account Number: XXX-XXX9133
of Account

T of Account

. Balance per Bank Statement
ADD: Deposits not credited

24,104.07
6,000.00

. SUBTRACT: Outstanding Checks 453.1

. Other Items

. Month End Balance (Must Agree with Books) 650.91

Note: Attach copy of each bank statement and bank reconciliation.

 

 

Investment Account Information

Bank / Account Name / Number Purchase Instrument

Date of Type of

Purchase
Price

Current
Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.

 
Case 6:20-bk-03355-GER Doc 506

QUARTERLY OPERATING REPORT -
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

Date of Plan Confirmation: February 21, 2021

 

 

 

CHAPTER 11 POST-CONFIRMATION

BANK ACCOUNT RECONCILIATIONS
Prepare Reconcilation for each Month of the Quarter

Filed 01/31/22 Page 5 of 30
ATTACHMENT NO. 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For 11/30/21

Bank Account Information

Account Account Account Account

#1 #2 #3 #4

Name of Bank: TD Bank TD Bank
Account Number: XXX-XXX9133 | XXX-XXX5435
Purpose of Account (Operating/Payroll/Tax) Operating Operating
Type of Account (e.g. checking) Checking Checking
1. Balance per Bank Statement - 16192.63
2. ADD: Deposits not credited =
3. SUBTRACT: Outstanding Checks - -67.75
4. Other Reconciling Items -
5. Month End Balance (Must Agree with Books) 7 16,124.88
Note: Attach copy of each bank statement and bank reconciliation.
Investment Account Information

Date of Type of Purchase Current

Bank / Account Name / Number Purchase Instrument Price Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.

 
QUARTERLY OPERATING REPORT -

Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page of eQMENT No

POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For 12/31/21

Bank Account Information

Account Account Account Account

#1 #2 #3 #4

Name of Bank: TD Bank TD Bank
Account Number: XXX-XXX9133 | XXX-XXX5435
Purpose of Account (Operating/Pay roll/Tax) Operating Operating
Type of Account (e.g. checking) Checking Checking
1. Balance per Bank Statement 1469.63
2. ADD: Deposits not credited 5
3. SUBTRACT: Outstanding Checks -854,29
4, Other Reconciling Items -
5. Month End Balance (Must Agree with Books) = 615.34
Note: Attach copy of each bank statement and bank reconciliation.
Investment Account Information

Date of Type of Purchase Current

Bank / Account Name / Number Purchase Instrument Price Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement,

 

 
Case 6:20-bk-03355-GER

QUARTERLY OPERATING REPORT -
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

Date of Plan Confirmation: February 21, 2021

 

 

 

CHAPTER 11 POST-CONFIRMATION

CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank
Number
of Account
of Account

Number

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101421b 1
1{Jon

Lawn
0/14/21 -

1
1
1
1
1

R102121 .
1 1 10/22/21|GMR Melbourne, LLC.
4 1 4

10/29/21 of Melbourne -
1 1 Melbourne

1

nsurance

10/12/21 nk
10/21/21|TD Bank
10/22/21
10/27/21
10/31/21

11/1

TD Bank
XXX-XXX9133

Transfer

 

Doc 506 Filed 01/31/22 Page 7 of 30

ATTACHMENT NO. 4

Amount

1
1,179.
54
402.

70,000.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for

holding check and anticipated delivery date of check.

None

 
Case 6:20-bk-03355-GER

QUARTERLY OPERATING REPORT -
POST CONFIRMATION

Doc 506 Filed 01/31/22 Page 8 of 30

ATTACHMENT NO. 4

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

Date of Plan Confirmation: February 21, 2021

 

 

 

CHAPTER 11 POST-CONFIRMATION
CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank
nt Number
of Account
of Account

Number Transaction

1

12/27/21 | Waste
I 1 1 12/30/21 I
111021 11/1
1 1 11
Dbt112921 1|TD Bank

12/04/21

Healthcare
Healthcare

 

TD Bank
XXX-XXX5435

- Melbourne

5,870.24

70,000.

43

\f any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for

holding check and anticipated delivery date of check.

None

 
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 9 of 30

Bank

America’s Most Convenient Bank®

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MARINA TOWERS LLC Page: 1 of 5

DIP CASE 20-03359 MFLO Statement Period: Oct 01 2021-Oct 31 2021

709 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: Gee: -***

MELBOURNE FL 32901 Primary Account #: S133
Chapter 11 Checking
MARINA TOWERS LLC Account # <@aiiiilibO 133
DIP CASE 20-03359 MFLO
Beginning Balance 41,436.48 Average Collected Balance 17,343.51
Deposits 16,092.44 Interest Earned This Period 0.00
Electronic Deposits 111,000.00 Interest Paid Year-to-Date 0.00

Annual Percentage Yield Earned 0.00%

Checks Paid 32,855.45 Days in Period 31
Electronic Payments 11,449.40
Other Withdrawals 100,120.00

Ending Balance

24,104.07

 

 

 

 

 

 

 

 

 

 

 

Total for this Period Total Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees (NSF) $0.00 $35.00
Deposits
POSTING DATE AMOUNT
10/29 DEPOSIT 16,092.44
Subtotal: 16,092.44
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
10/08 eTransfer Credit, Online Xfer 34,000.00
Transfer from CK 4369008854
10/14 eTransfer Credit, Online Xfer 13,000.00
Transfer from CK 4369008854
10/21 eTransfer Credit, Online Xfer 5,000.00
Transfer from CK 4369008854
10/22 eTransfer Credit, Online Xfer 35,000.00
Transfer from CK 4369008854
10/26 eTransfer Credit, Online Xfer 500.00
Transfer from CK 4369008854
10/27 eTransfer Credit, Online Xfer 10,000.00
Transfer from CK 4369008854
10/29 eTransfer Credit, Online Xfer 13,500.00

Transfer from CK 4369008854

Subtotal: 111,000.00
Case 6:20-bk-03355-GER Doc 506 Filed 01/31/22

Page 10 of 30

Page: 20f5

Begin by adjusting your account register , Your ending balance shown on this

as follows: statement is:

Subtract any services charges shown

Ending 24,104.07

Balance

on this staternent. 2 List below the amount of deposits or
credit transfers which do not appear

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

on this statement. Total the deposits
and enter on Line 2.

Total +
Deposits

Add any interest earned if you have 3 Subtotal by adding lines 1 and 2.

an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

4 List below the total amount of
withdrawals that do not appear on

Sub Total

this statement. Total the withdrawals

Review all withdrawals shown on this
statement and check them off in your
account register.

a

Follow instructions 2-5 to verify your

ending account balance. balance.

Total Deposits

FOR CONSUMER ACCOUNTS ONLY — IN GASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

if you need information about an electronic fund transfer or if you believe there is an
error on your bank stalement or receipt relating to an electronic fund transfer,
telephone the bank immediately at the phone number listed on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared, When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more information is needed. Please include:

* Your name and account number.

* Addescription of the error or transaction you are unsure about

* The dollar amount and date of the suspected error.
When making a verbal inquiry, the Bank may ask that you send us your complaint in
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take more
than ten (10) business days to do this, we will credit your account for the
amount you think is in error, so that you have the use of the money during the time it
takes to complete our investigation,

INTEREST WOTICE
Total interest credited by the Bank to you this year will be reported by the Bank to the

Internal Revenue Service and State tax authorities. The amount to be reported will be
reported separately to you by the Bank.

and enter on Line 4.

Total -
Withdrawals

Subtract Line 4 from 3. This adjusted
balance should equal your account

Adjusted
Balance

Total
Withdrawals

FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
SUMMARY

In case of Errors or Questions About Your Bill:

(f you think your bill is wrong, or if you need more information about a transaction on
your bill, write us al P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear from you no later than sixty (60) days after we sent you the
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so will not preserve your rights. In your letter, give us the following information.

+ Your name and account number.

« The dollar amount of the suspected error.

« Describe the error and explain, if you can, why you believe there is an error.

If you need more information, describe the item you are unsure about

You do not have to pay any amount in question while we are investigating, but you
are still obligated to pay the parts of your bill that are not in question. While we
investigate your question, we cannot report you as delinquent or take any action to
collect the amount you question

FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic statement as an easier method for you to calculate the finance
charge, The finance charge begins to accrue on the date advances and other debits
are posted to your account and will continue until the balance has been paid in full.
To compute the finance charge, multiply the Average Daily Balance times the Days in
Period times the Daily Periodic Rate (as listed in the Account Summary section on
the front of the statement). The Average Daily Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days in the Billing Cycle. The daily balance is the balance for the day after
advances have been added and payments or credits have been subtracted plus or
minus any other adjustments that might have occurred that day. There is no grace
period during which no finance charge accrues. Finance charge adjustments are
included in your total finance charge.
Case 6:20-bk-03355-GER

Bank

America’s Most Convenient Bank®

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

Doc 506 Filed 01/31/22 Page 11 of 30

Page: 3 of 5

Statement Period: Oct 01.2021-Oct 31 2021
Cust Ref #: —
Primary Account #: 133

 

 

Checks Paid No. Checks: 12

*Indicates break in serial sequence or check processed electronically and listed under Electronic Payments

 

 

 

 

DATE SERIAL NO. AMOUNT DATE SERIAL NG. AMOUNT
10/01 4071 385.00 10/13 4081* 5,660.73
10/01 4075* 3,846.06 10/25 4082 1,179.06
10/01 4076 5,590.70 10/20 4083 917.54
10/06 4077 570.33 10/26 4084 385.00
10/04 4078 4,473.27 10/25 4085 402.40
10/06 4079 3,225.00 10/29 4087* 6,220.36
Subtotal: 32,855.45
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
10/18 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****206193 WEBI 11,368.11
10/18 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****817529 WEBI 81.29
Subtotal: 11,449.40
Other Withdrawals
DESCRIPTION AMOUNT
10/12 WIRE TRANSFER OUTGOING, Global Medical REIT LP 50,000.00
10/12 WIRE TRANSFER FEE 30.00
10/21 WIRE TRANSFER OUTGOING, Global Medical REIT LP 5,000.00
10/21 WIRE TRANSFER FEE 30.00
10/22 WIRE TRANSFER OUTGOING, Global Medical REIT LP 35,000.00
10/22 WIRE TRANSFER FEE 30.00
10/27 WIRE TRANSFER OUTGOING, Global Medical REIT LP 10,000.00
10/27 WIRE TRANSFER FEE 30.00
Subtotal: 100,120.00
DATE BALANCE DATE BALANCE
09/30 41,436.48 10/18 3,205.99
10/01 31,614.72 10/20 2,288.45
10/04 27,141.45 10/21 2,258.45
10/06 23,346.12 10/22 2,228.45
10/08 57,346.12 10/25 646.99
10/12 7,316.12 10/26 761.99
10/13 1,655.39 10/27 731.99
10/14 14,655.39 10/29 24,104.07
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 12 of 30

Bank

America’s Most Convenient Bank®

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

 

 

 

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Ptan It Lawn and Landecaping
P, © Box 360147 4

Matboume, FL 32998
mao 09721 igs ~—

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STATEMENT OF ACCOUNT

Page: 4o0f5
Statement Period: Oct 01 2021-Oct 31 2021
Cust Ref #: *
Primary Account #: 133

 

 

 

 

 

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DEBTORIN POSSESSION, CARE: #0-70-BK-S30H4LV Bank., ©
Marina Towers LLC Mot Carerhiant Bank®
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vs Ahab Giga. |

 

 

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MARRS Alr Conditioning & Refrigeration
1246 Aurora Road &
Metoourne, FL 32938 *

 

 

 

 

 

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New York, NY 10087-2281 -
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Johnson Controls Fire Protection LP
Dept CH 10820 &

Palatine, iL 60056-0220
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#4081 10/13 $5,660.73

#4082 10/25

$1,179.06

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NALCO Company Ptan It Lewn end Landscaping
PO Box 70718 a P. 0. Bax 380147 a
Chicago, Il. 80873-0718 Melbourne, FL 32038 e.
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#4083 10/20 $917.54

#4084 10/26 $385.00
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 13 of 30

Bank

America’s Most Convenient Bank®

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

   

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STATEMENT OF ACCOUNT

 

 

 

 

 

Page: 5 of 5
Statement Period: Oct 01 2021-Oct 31 2021
Cust Ref #: eine -""*
Primary Account #: a 133
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‘Six Thousand t Twenty anc 504 00" aca

 

CR of Melbourne, LLC.

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#4085 10/25 $402.40

 

#4087 10/29 $6,220.36
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 14 of 30

 

 

 

 

4:40 PM Marina Towers, LLC
41/07/21 Reconciliation Summary
1009 - TD Bank Operating, Period Ending 10/31/2021
Oct 31, 21
Beginning Balance 41,436.48
Cleared Transactions
Checks and Payments - 22 items -144,424.85
Deposits and Credits - 8 items 127,092.44
Total Cleared Transactions -17,332.41
Cleared Balance 24,104.07
Uncleared Transactions
Checks and Payments - 7 items -29,453.16
Deposits and Credits - 1 item 6,000.00
Total Uncleared Transactions -23,453.16
Register Balance as of 10/31/2021 650.91
Ending Balance 650.91

Page 1
4:40 PM
11/07/21

Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 15 of 30

Type

Beginning Balance

Marina Towers, LLC

Reconciliation Detail

1009 - TD Bank Operating, Period Ending 10/31/2021

Date

Cleared Transactions
Checks and Payments - 22 items

Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Check

Bill Pmt -Check
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Check

Bill Pmt -Check
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Bill Pmt -Check
Check

Bill Pmt -Check

Total Checks and Payments

09/15/2021
09/24/2021
09/24/2021
09/24/2021
09/30/2021
09/30/2021
10/08/2021
10/08/2021
10/12/2021
10/14/2021
10/14/2021
10/14/2021
10/14/2021
10/14/2021
10/14/2021
10/21/2021
10/21/2021
10/22/2021
10/22/2021
10/27/2021
10/27/2021
10/29/2021

Num

4071
4076
4075
4077
4078
4079
GMR1...
4081

TD101...

FPL10...
4082
4083
4085
4084
FPL10...
GMR‘1...
TD102...
GMR‘1...
TD102...
GMR1...
TD102...
4087

Deposits and Credits - 8 items

Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Payment

Total Deposits and Credits

10/08/2021
10/14/2021
10/21/2021
10/22/2021
10/26/2021
10/27/2021
10/29/2021
10/29/2021

Total Cleared Transactions

Cleared Balance

Uncleared Transactions
Checks and Payments - 7 items

Check
Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Check
Check

Total Checks and Payments

Deposits and Credits - 1 item

Deposit

Total Deposits and Credits

Total Uncleared Transactions

08/31/2021
08/31/2021
10/29/2021
10/29/2021
10/29/2021
10/31/2021
10/31/2021

10/31/2021

Register Balance as of 10/31/2021

Ending Balance

17373

4060
4061
4088
4086
4089
Dal10...
TD103...

Name

Plan It Lawn and La...
IPFS Corporation

CR of Melbourne, LL...
Westfield Insurance ...

Kone, Inc.

MARRS Air Conditio...
GMR Melbourne, LLC.
CR of Melbourne, LL...

TD Bank

FPL - Florida Power ...

Johnson Controls
NALCO Company
Waste Management...
Plan It Lawn and La...

FPL - Florida Power ...
GMR Melbourne, LLC.

TD Bank

GMR Melbourne, LLC.

TD Bank

GMR Melbourne, LLC.

TD Bank

CR of Melbourne, LL...

240 Clear Choice H...

Home Depot (Towers)
MAI Design Build
IPFS Corporation
City of Melbourne - ...

Westfield Insurance ...

Dal Lago Law
TD Bank

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Amount Balance
41,436.48
-385.00 -385.00
-5,590.70 -5,975.70
-3,846.06 -9,821.76
-570.33 -10,392.09
-4,473.27 -14,865.36
-3,225.00 -18,090.36
-§0,000.00 -~68,090.36
-5,660.73 -73,751.09
~30.00 -73,781.09
-11,368.11 -85,149.20
-1,179.06 -86,328.26
-917.54 -87,245.80
-402.40 -B7,648.20
-385.00 -88,033.20
-81.29 -88,114.49
-5,000.00 -93,114.49
-30.00 -93,144.49
-35,000.00 -128,144.49
-30.00 -128,174.49
-10,000.00 -138,174.49
-30.00 -138,204.49
-6,220.36 -144,424.85
-144,424.85 -144,424.85
34,000.00 34,000.00
13,000.00 47,000.00
5,000.00 52,000.00
35,000.00 87,000.00
500.00 87,500.00
10,000.00 97,500.00
13,500.00 111,000.00
16,092.44 127,092.44
127,092.44 ___ 127,092.44
-17,332.41 -17,332.41
-17,332.41 24,104.07
-287.05 -287.05
-246.99 -534.04
-5,590.70 -6,124.74
-990.09 -7,114.83
-570.33 -7,685.16
-21,738.00 -29,423.16
-30.00 -29,453.16
-29,453.16 -29,453.16
6,000.00 6,000.00
6,000.00 6,000.00
-23,453.16 -23,453.16
-40,785.57 650.91
-40,785.57 650.91

 

 

Page 1
© Case 6:20-bk-03355-GER Doc 506 Filed 01/31/22.-Page 16 of 30 -

AV 01 190659 77124E593 A**5DGT

 

 

 

 

 

 

 

 

 

 

 

 

MARINA TOWERS LLC Page: 1 of 3

DIP CASE 20-03359 MELO Statement Period: Nov 01 2021-Nov 10 2021

702 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: TEE -0-***

MELBOURNE FL 32901-1936 Primary Account #: EMS 133
[pUdbatacep pag PPUMap ap Epp ea aeg|EPpAU UD pogo doll falagyy y
Chapter 11 Checking LA 11

VARINA TOW en ore 0,2 202
MARINA TOWERS LLC RECE WED VE} Yacoounit + qqammmmmo 733
DIP CASE 20-03359 MFLO ,
ACCOUNT SUMMARY
Beginning Balance 24,104.07 Average Collected Balance 4,958.10
Electronic Deposits 6,000.00 Interest Earned This Period 0.00
Interest Paid Year-to-Date 0.00
Checks Paid 7,398.11 Annual Percentage Yield Earned 0.00%
Other Withdrawals 22,705.96 Days in Period 9
Ending Balance 0.00
Ne
Total for this Period Total Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees (NSF) $0.00 $35.00

DAILY ACCOUNT ACTIVITY =
Electronic Deposits Ee
POSTING DATE DESCRIPTION ie
11/01 eTransfer Credit, Online Xfer 6,000.00 Gi

dycnt

Transfer from CK 4369008854

 

 

 

 

Subtotal: 6,000.00
Checks Paid No. Checks: 4 ‘Indicates break in serial sequence ar chack processed electronically and listed under Electronic Payments
DATE SERIAL NO. AMOUNT BATE SERIAL NO, SOUR
11/01 4061 246.99 11/08 4088* 5,590.70
11/04 4086* 990.09 11/08 4089 570.33
Subtotal: 7,398.11
Other Withdrawals
POSTING DATE DESCRIPTION ARES
11/01 WIRE TRANSFER OUTGOING, Mike Dal Lago PA DBA Dal Lago L , 21,738.00
11/01 WIRE TRANSFER FEE 30.00
11/10 ACCOUNT CLOSED 937.96
Subtotal: 22,705.96
oAaILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
10/31 24,104.07 11/08 937.96
141 8,089.08 11/10 0.00
Oe 7,098.99
i oe 095-237-2006 for 24-hour Bank-by-Phone services or connect to www. tobenk.com

i Ofank, NA | Equal Housing Lender fey

 
Case 6:20-bk-03355-GER Doc 506 Filed 01/31/22

Page 17 of 30

Begin by adjusting your account register ; Your ending balance shown on this 6
as follows: -. ae
statement is: Ending 0.00
Subtract any services charges shown Balance
on this statement. ' List below the amount of deposits or
. credit transfers which do not appear
Subtract Oooo Pe ee on this statement. Total the deposits Total +
° i Deposits
drawals not previously recorded. and enter on Line 2. P
Add any interest earned if you have s Subtotal by adding lines | and 2. os
an interest-bearing account. e
: . ¢ Li , Sub Total
Add any automatic deposit or List below the total amount of
overdraft line of credit. withdrawals that do not appear on
this statement. Total the withdrawals .
Review all withdrawals shown on this and enter on Line 4. o Total .
statement and check them off in your Withdrawals

account register.

Follow instructions 2-5 to verify your
ending account balance.

NO DOLLARS cans

 

Total Deposits

      

4 PRRORSG OR
fi iOHS . POY CHIP ee te TRAMGFERS:
If you need information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund transfer,
telephone the bank immediatelyat the phone number listed on the front of your
statementor write to

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewlston,
Maine 04243-1377

We must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared. When contacting the
Bank, please explain as clearly as you can why you believe there Is an error or why
more information is needed, Please include

 

 

* Your name and account number.

* Adescription of the error or transaction you are unsure about.

« The dollar amount and date of the suspected error.
When making a verbal inquiry, the Bank may ask that you cend us your complaintin
writing within ten (10) business days after the first telephone call

We will investigate your complaint and will correct any error promptly. If wa take more
than ten (10) business days to do this, we will credit your account for the

amountyou think is in error, so that you have the use of the money during the time It
takes to complete our invastigation

INTEREST NOTICE
Total interest credited by the Bank te you this year will be reported by the Bank to the

Internat Revenue Service and State tax authorities The amountto be reported will be
reported separately to you by the Bank

 

' Subtract Line 4 from 3. This adjusted
balance should equal your account
balance. © adjusted

Balance

 

Total
Withdrawals sl,

FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING alos
SURPARRY

In case of Errors or Questions About Your Bill

[f you think your bill is wrong, or if you need more information about a transaction on
your bill, write us at P.O Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear trom you no later than sixty (60) days after we sent you the
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so will not preserve your rights. In your letter, give us the following information.

= Your name and account number.

¢ The dollar amountof the suspected error

« Describe the error and explain, if you can, why you believe there is an error

{f you need more information, describe the item you are unsure about

You do not have to pay any amount in question while we are Investigating, but you
are still obligated to pay the parts of your bill that are not in question While we
investigate your question, we cannot report you as delinquent or take any action to
collect the amount you question.

FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
or "OD" refare to Overdratt Protection), the Bank discloses the Average Daily Balance
on the periodic statement as an easier method for you to calculate the finance
charge. The finance charge begins to accrue on the date advances and other debits
are posted to your account and will continue until the balance has been paid in full

To compute the finance charge, multiply the Average Daily Balance times the Days in
Period times the Daily Periodic Rate (as listed in the Account Summary section on

the front of the statement). The Average Daily Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days in the Billing Cycle. The daily balance is the balance for the day after
advances have been added and payments or credits have been subtracted plus or
minus any other adjustmentsthat might have occurred that day There is no grace
period during which no finance charge accrues. Finance charge adjustments are
included in your total finance charge

 
Case 6:20-bk-03355-GER Doc 506 Filed 01/31/22. Page 18 of 30

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

 

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#4088 71/08 $5,590.70

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page: 3 0f 3
Statement Period: Nov 01 2021-Nov 10 2021
Cust Ref # mmr
Primary Account #: Ges 133
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#4089 11/08 $570.33

 

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Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 19 of 30

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Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 20 of 30

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00°000'9 00°000'9
00°0 00°0
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20°r01‘0€- 96'2€6-
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LL Q€L'6z- 00°8€2'Lz-
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Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 21 of 30

 

Bank

America's Most Convenient Bank® T
MARINA TOWERS LLC Page: 1 of3
DIP CASE -20-03359 MFLO Statement Period: Nov 10 2021-Nov 30 2021
709 S HARBOR CITY BLVD STE 530 Cust Ref #: GE 3.5-039-T-+HH#
MELBOURNE FL 32901 Primary Account #: AME 435

Chapter 11 Checking

MARINA TOWERS LLC Account # @agiiiab 435
DIP CASE -20-03359 MFLO

 

 

Beginning Balance 0.00 Average Collected Balance 893.46

Deposits 24,273.92 Interest Earned This Period 0.00

Other Credits 7,535.00 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%

Checks Paid 7,500.00 Days in Period 21

Electronic Payments 581.29

Other Withdrawals 7,535.00

Ending Balance 16,192.63

 

Total for this Period Total Year-to-Date

 

 

 

 

 

 

 

 

 

 

 

Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees (NSF) $35.00 $35.00
Deposits
11/10 DEPOSIT 7,243.52
11/10 DEPOSIT 937.96
11/30 DEPOSIT 16,092.44
Subtotal: 24,273.92
Other Credits
11/15 RETURNED ITEM 7,500.00
11/23 OD/NSF REV - BNK ERROR 35.00
Subtotal: 7,535.00
Checks Paid No. Checks: 1 *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
11/12 1 7,500.00

Subtotal: 7,500.00
Case 6:20-bk-03355-GER Doc 506 Filed 01/31/22

Begin by adjusting your account register
as follows: statement is:
Subtract any services charges shown
on this statement.

Page 22 of 30

Page: 2 of 3

Your ending balance shown on this

Ending
Balance

16,192.63

List below the amount of deposits or

credit transfers which do not appear

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

on this statement. Total the deposits
and enter on Line 2.

List below the total amount of
withdrawals that do not appear on

Total +
Deposits

Subtotal by adding lines 1 and 2.

Sub Total

this statement. Total the withdrawals

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

ending account balance. balance.

Total Deposits

If you need information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund transfer,
telephone the bank immediately at the phone number listed on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statament upon which the error or problem first appeared. When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more information is needed, Please include:

« Your name and account number,

¢ Adescription of the error or transaction you are unsure about.

* The dollar amount and date of the suspected error
When making a verbal inquiry, the Bank may ask that you send us your complaint in
writing within ten (10) business days after the first telephone call

We will investigate your complaint and will correct any error promptly. If we take more
than ten (10) business days to do this, we will credit your account for the

amount you think is in error, so that you have the use of the money during the time it
takes to complete our investigation

Total interest credited by the Bank to you this year will be reported by the Bank to the
Intemai Revenue Service and State tax authorities. The amount to be reported will be
reported separately to you by the Bank.

and enter on Line 4.

Total .
Withdrawals

Subtract Line 4 from 3. This adjusted
balance should equal your account

Adjusted
Balance

Total
Withdrawals

In case of Errors or Questions About Your Bill:

If you think your bill Is wrong, or if you need more information about a transaclion on
your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear from you no later than sixty (60) days after we sent you the
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so will not preserve your rights. In your letter, give us the following information:

* Your name and account number.

* The dollar amount of the suspected error.

* Describe the error and explain, if you can, why you believe there is an error.

If you need more information, describe the item you are unsure about

You do not have to pay any amount in question while we are investigating, but you
are still obligated to pay the parts of your bill that are not in question. While we
investigate your question, we cannot report you as delinquent or take any action to
collect the amount you question

FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic statement as an easier method for you to calculate the finance

charge. The finance charge begins to accrue on the date advances and other debits
are posted to your account and will continue until the balance has been paid in full

To compute the finance charge, multiply the Average Daily Balance times the Days in
Period times the Daily Periodic Rate (as listed in the Account Summary section on
the front of the statement). The Average Daily Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days In the Billing Cycle, The daily balance is the balance for the day after
advances have been added and payments or credits have been subtracted plus or
minus any other adjustments that might have occurred that day. There is no grace
period during which no finance charge accrues. Finance charge adjustments are
included in your total finance charge.
Case 6:20-bk-03355-GER Doc 506

Bank

America’s Most Convenient Bank®

MARINA TOWERS LLC

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DIP CASE -20-03359 MFLO Page: 3 of 3
Statement Period: Nov 10 2021-Nov 30 2021
Cust Ref #: EN 35-039-T Ht
Primary Account #: lg 5 435
Electronic Payments
11/24 eTransfer Debit, Online Xfer 500.00
Transfer to CK 4369008854
11/30 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****817529 WEBI 81.29
Subtotal: 581.29
Other Withdrawals
1145 OVERDRAFT RET 35.00
11/16 DEPOSIT CORRECTION 7,500.00
Subtotal: 7,535.00
11/10 0.00 11/16 646.48
11/10 8,181.48 11/23 681.48
11/12 681.48 11/24 181.48
11/15 8,146.48 11/30 16,192.63
Case 6:20-bk-03355-GER Doc506 Filed 01/31/22 Page 24 of 30

 

 

 

 

11:00 AM Marina Towers, LLC
12/03/21 Reconciliation Summary
1013 - TD Bank - Operating 5435, Period Ending 11/30/2021
Nov 30, 21
Beginning Balance 0.00
Cleared Transactions
Checks and Payments - 3 items -8,081.29
Deposits and Credits - 3 items 24,273.92
Total Cleared Transactions 16,192.63
Cleared Balance 16,192.63
Uncleared Transactions
Checks and Payments - 1 item -67.75
Total Uncleared Transactions -67.75
Register Balance as of 11/30/2021 16,124.88
Ending Balance 16,124.88

Page 1
10:59 AM
12/03/21

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Marina Towers, LLC
Reconciliation Detail

1013 - TD Bank - Operating 5435, Period Ending 11/30/2021

 

 

Type Date Num Name Clr
Beginning Balance
Cleared Transactions

Checks and Payments - 3 Items
Check 11/10/2021 FCHS... First Choice Healthc... xX
Check 11/24/2021 FCHS... First Choice Healthc... X
Bill Pmt -Check 41/24/2021 FPL11.., FPL - Florida Power ... X

Total Checks and Payments

Deposits and Credits - 3 items
Check 11/10/2021 Tow11.... Marina Towers, LLC X
Payment 11/10/2021 15877 540 Smith & Associ... X
Payment 11/30/2021 17495 240 Clear Choice H... X

Total Deposits and Credits
Total Cleared Transactions
Cleared Balance

Uncleared Transactions
Checks and Payments - 1 item

Check 11/29/2021 Dbt11...

Total Checks and Payments
Total Uncleared Transactions
Register Balance as of 11/30/2021

Ending Balance

TD Bank Debit Card

 

 

 

 

 

 

 

 

 

Amount Balance
0.00
-7,500.00 -7,500.00
-500.00 -8,000.00
-81.29 -8,081.29
-8,081.29 -8,081.29
937.96 937.96
7,243.52 8,181.48
16,092.44 24,273.92
24,273.92 24,273.92
16,192.63 16,192.63
16,192.63 16,192.63
-~67.75 -67.75
-67.75 -67.75
-67.75 -67.75
16,124.88 16,124.88
16,124.88

16,124.88

 

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Bank

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T STATEMENT OF ACCOUNT
MARINA TOWERS LLC Page: 1of3
DIP CASE -20-03359 MFLO Statement Period: Dec 01 2021-Dec 31 2021
709 S HARBOR CITY BLVD STE 530 Cust Ref #:
MELBOURNE FL 32901 Primary Account #: EN 435
Chapter 11 Checking
MARINA TOWERS LLC Account # @aamiaiiig 35
DIP CASE -20-03359 MFLO
ACCOUNT SUMMARY
Beginning Balance 16,192.63 Average Collected Balance 5,049.71
Deposits 7,243.52 Interest Earned This Period 0.00
Electronic Deposits 13,000.00 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%
Checks Paid 8,182.72 Days in Period 34
Electronic Payments 26,783.80
Ending Balance 1,469.63
Total for this Period Total Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees (NSF) $0.00 $35.00
DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION AMOUNT
12/03 DEPOSIT 7,243.52
Subtotal: 7,243.52
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
12/15 eTransfer Credit, Online Xfer 6,000.00
Transfer from CK 4369008854
12/27 eTransfer Credit, Online Xfer 1,000.00
Transfer from CK 4369008854
12/30 eTransfer Credit, Online Xfer 6,000.00
Transfer from CK 4369008854
Subtotal: 13,000.00
Checks Paid No. Checks: 1 *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
SERIAL NO. AMOUNT
12/16 2001 8,182.72
Subtotal: 8,182.72

Hank Depusits FDIC Insured | TD Bank, N.A | Equal Housing Lender *
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Page: 2 of 3

Begin by adjusting your account register ; Your ending balance shown on this

as follows: statement is:

Subtract any services charges shown

Ending 1,469.63

Balance

on this statement. 2 List below the amount of deposits or
credit transfers which do not appear

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

on this statement. Total the deposits
and enter on Line 2.

Total +
Deposits

Add any interest earned if you have 3 Subtotal by adding lines 1 and 2.

an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

4 List below the total amount of
withdrawals that do not appear on

Sub Total

this statement. Total the withdrawals

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

ending account balance. balance.

Total Deposits

FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

lf you need information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund transfer,
telephone the bank immediately at the phone number listed on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared. When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more information is needed. Please include:

« Your name and account number

« Adescription of the error or transaction you are unsure about.

* The dollar amount and date of the suspected error.
When making a verbal inquiry, the Bank may ask that you send us your complaint in
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly, If we take more
than ten (10) business days to do this, we will credit your account for the
amount you think is in error, so that you have the use of the money during the time it
takes to complete our investigation

INTEREST NOTICE
Total interest credited by the Bank to you this year will be reported by the Bank to the

Internal Revenue Service and State tax aulhorities. The amount to be reported will be
reported separately to you by the Bank.

and enter on Line 4.

Total -
Withdrawals

5 Subtract Line 4 from 3. This adjusted
balance should equal your account

Adjusted
Balance

Total
Withdrawals

FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
SUMMARY

In case of Errors or Questions About Your Bill:

If you think your bill is wrong, or if you need more information about a transaction on
your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear from you no later than sixty (60) days after we sent you the
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so will not preserve your rights. In your letter, give us the following information:

* Your name and account number.

¢ The dollar amount of the suspected error,

* Describe the error and explain, if you can, why you believe there is an error

Hf you need more information, describe the item you are unsure about,

You do not have to pay any amount in question while we are investigating, but you
are still obligated to pay the parts of your bill that are not in question. While we
investigate your question, we cannot report you as delinquent or take any action to
collect the amount you question

FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic statement as an easier method for you to calculate the finance
charge. The finance charge begins to accrue on the date advances and other debits
are posted to your account and will continue until the balance has been paid in full

To compute the finance charge, multiply the Average Daily Balance times the Days in
Period times the Daily Periodic Rate (as listed in the Account Summary section on
the front of the statement). The Average Daily Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days in the Billing Cycle. The daily balance is the balance for the day after
advances have been added and payments or credits have been subtracted plus or
minus any other adjustments that might have occurred that day, There is no grace
period during which no finance charge accrues. Finance charge adjustments are
included in your total finance charge.
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Bank

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MARINA TOWERS LLC

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STATEMENT OF ACCOUNT

 

 

 

 

DIP CASE -20-03359 MFLO Page: 3 of 3
Statement Period: Dec 01 2021-Dec 31 2021
Cust Ref #: eS eae Ht
Primary Account #: Bg 435
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
12/06 eTransfer Debit, Online Xfer 10,000.00
Transfer to CK 4369008854
12/07 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****206193 WEBI 10,059.95
12/08 DEBIT CARD PURCHASE, *****04029381146, AUT 120721 VISA DDA PUR 67.75
AMZN MKTP US A51KG94U3. AMZN COM BILL * WA
12/28 ELECTRONIC PMT-TEL, WASTE MANAGEMENT INTERNET ****00091987902 785.86
12/31 CCD DEBIT, IPFS877-674-3076 IPFSPMTFLS 115513 5,870.24
Subtotal: 26,783.80
DATE BALANCE DATE BALANCE
11/30 16,192.63 12/16 1,125.73
12/03 23,436.15 12/27 2,125.73
12/06 13,436.15 12/28 1,339.87
12/07 3,376.20 12/30 7,339.87
12/08 3,308.45 12/31 1,469.63
12/15 9,308.45

Bank Deposits FDIC Insured | TO Bank, N.A, | Equal Housing Lender =)
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2:41 PM Marina Towers, LLC
01/03/22 Reconciliation Summary
1013 - TD Bank - Operating 5435, Period Ending 12/31/2021
Dec 31, 21
Beginning Balance 16,192.63
Cleared Transactions
Checks and Payments - 6 items -34,966.52
Deposits and Credits - 4 items 20,243.52
Total Cleared Transactions -14,723.00
Cleared Balance 1,469.63
Uncleared Transactions
Checks and Payments - 1 item -854.29
Total Uncleared Transactions -854.29
Register Balance as of 12/31/2021 615.34
Ending Balance 615.34

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2:41 PM
01/03/22

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Marina Towers, LLC

Reconciliation Detail

1013 - TD Bank - Operating 5435, Period Ending 12/31/2021

Type Date Num Name

 

Beginning Balance
Cleared Transactions
Checks and Payments - 6 items

Check 11/29/2021 Dbt11.... TD Bank Debit Card
Bill Pmt -Check 12/04/2021 FPL12.... FPL - Florida Power ...
Check 12/04/2021 FCHS... First Choice Healthc...
Bill Pmt -Check 12/15/2021 2001 CR of Melbourne, LL...
Bill Pmt -Check 12/27/2021 WMg... Waste Management...
Bill Pmt -Check 12/30/2021 IPFS1.... IPFS Corporation

Total Checks and Payments

Deposits and Credits - 4 items

Payment 12/03/2021 16899 540 Smith & Associ...
Deposit 12/15/2021
Deposit 12/27/2021
Deposit 12/30/2021

Total Deposits and Credits
Total Cleared Transactions
Cleared Balance

Uncleared Transactions
Checks and Payments - 1 item

Bill Pmt -Check 12/10/2021 2000 City of Melbourne - ...

Total Checks and Payments
Total Uncleared Transactions
Register Balance as of 12/31/2021

Ending Balance

Clr

 

 

 

 

 

 

 

 

 

Amount Balance
16,192.63
-67.75 -67.75
-10,059.95 -10,127.70
-10,000.00 -20,127.70
-8,182.72 -28,310.42
-785.86 -29,096.28
-5,870.24 -34,966.52
-34,966.52 -34,966.52
7,243.52 7,243.52
6,000.00 13,243.52
1,000.00 14,243.52
6,000.00 20,243.52
20,243.52 20,243.52
-14,723.00 -14,723.00
-14,723.00 1,469.63
-854.29 -854.29
-854.29 -854.29
-854.29 -854.29
-15,577.29 615.34
-15,577.29 615.34

 

 

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